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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

   In re                                              §
                                                      §   Civ. Act. No. 3:21-cv-0881-x
   HIGHLAND CAPITAL MANAGEMENT,                       §
   L.P.                                               §   Consolidated with:
                                                      §   3:21-cv-0880-x
             Reorganized Debtor/Plaintiff,            §   3:21-cv-1010-x
                                                      §   3:21-cv-1378-x
   v.                                                 §   3:21-cv-1379-x
                                                      §   3:21-cv-3160-x
   NEXPOINT ASSET MANAGEMENT,                         §   3:21-cv-3162-x
   L.P. (f/k/a HIGHLAND CAPITAL                       §   3:21-cv-3179-x
   MANAGEMENT FUND ADVISORS,                          §   3:21-cv-3207-x
   L.P.), et al.,                                         3:22-cv-0789-x

             Defendants.

             NOTICE OF APPEAL TO UNITED STATES COURT OF APPEALS
                            FOR THE FIFTH CIRCUIT

           James Dondero (“Dondero”), defendant in Civ. Act. No. 3:22-cv-0881-x (consolidated

  with the above-captioned matters) and the adversary proceeding styled Highland Capital

  Management, L.P. vs. James Dondero, et al., Adversary Proceeding No. 21-03003-sgj,

  appeals to the United States Court of Appeals for the Fifth Circuit from the following orders

  of the District Court for the Northern District of Texas: (1) the AMENDED FINAL

  JUDGMENT AGAINST JAMES DONDERO entered in this consolidated case as Dkt. 148

  on August 3, 2023, and (2) Electronic Orders Dkt. 129 and Dkt. 131 (clarified by Electronic

  Order Dkt. 135, entered on July 6, 2023) which denied as moot the Motion for Ruling on

  Pending Objections (addressing, inter alia, an Objection to Order Denying Motions to Extend

  Expert Disclosure and Discovery Deadlines).

           The parties to the judgment appealed from and the names and addresses of their

  respective attorneys are as follows:


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  Dated: September 1, 2023

                               Respectfully submitted,

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                               Attorneys for Defendant James Dondero


                               CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on September 1, 2023, a true and correct copy
  of the foregoing document was served via the Court’s CM/ECF system on all parties registered
  to receive electronic notices in this case.

                                       /s/ Deborah Deitsch-Perez
                                       Deborah Deitsch-Perez




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